                         IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA




    UNITED STATES OF AMERICA,                                  CASE NO. 3:21-cr-00073-TMB-MMS
                         Plaintiff,


            vs.                                              FINAL REPORT AND
                                                          RECOMMENDATION OF THE
     MARK CRUZ NYSTUEN                                    MAGISTRATE JUDGE UPON A
                                                              PLEA OF GUILTY

                         Defendant.



      Guilty Plea to Charge(s)
      26:5861(d) Possession of an Unregistered Destructive Device

      -
      -
      Count(s)                             Lesser Included Offense:   Admit Forfeiture:
      3                                    No
                                           Yes: of count ________ -
     Charging Instrument:             Docket Number
     Indictment                       2
      Plea Agreement:                 Docket Number
     Yes                              80



Upon Defendant's request to enter a guilty plea, pursuant to Rule 11 of the Federal Rules of

Criminal Procedure, to Count(s)        3             of the Indictment                    Dkt 2   , this

matter was referred to the Magistrate Judge by the District Court with the written


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and verbal consents of Defendant, counsel for Defendant, and counsel for the United

States.

          Thereafter, the matter came before this Court for a hearing on Defendant’s

guilty plea, in full compliance with Rule 11, Federal Rules of Criminal Procedure, in

open court and on the record.

          In consideration of that hearing and the colloquy made by the Defendant under oath,

on the record, in the presence of counsel, and the remarks of the Assistant United

States Attorney,




          A.     I make the following FINDNGS – that the Defendant understands:

                 ☒ That any false statements made by the Defendant under oath may
                 ✔

                later be used against him in a prosecution for perjury;

                ✔ The right to persist in a plea of not-guilty;
                ☒

                ✔ The potential for deportation or denial of re-entry;
                ☒

                ✔ The nature of the charges against the Defendant;
                ☒


                ✔ The loss of certain federal benefits;
                ☒

                ✔ The maximum possible sentence, including imprisonment, fine,
                ☒
                supervised release, and any applicable mandatory minimum sentence;

                ✔ The Court’s authority to order restitution;
                ☒

                ✔ The mandatory special assessment;
                ☒


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                ✔ Any applicable forfeiture;
                ☒

                ✔ The right to a speedy and public trial by jury;
                ☒

                ✔ The right to be represented by counsel and, if necessary, to have the court
                ☒
                appoint counsel at trial, and at every other stage of the
                proceedings;

                ☒✔ The right to: confront and cross-examine adverse witnesses, to
                remain silent, to testify and present evidence, and to compel the
                attendance of witnesses;

                ✔ That a plea of guilty operates as a waiver of trial rights;
                ☒

                ✔ That the Defendant knowingly, intelligently, and voluntarily waives all
                ☒
                right to appeal or collaterally attack (except on the grounds of
                ineffective assistance of counsel and the voluntariness of her plea); and

                 ✔ That in determining a sentence, the court’s obligation to calculate the
                applicable sentencing guideline range pursuant to the Sentencing
                Guidelines promulgated by the United States Sentencing Commission and
                to consider that range, as well as departures under the Sentencing
                Guidelines, and variances under 18 U.S.C. §3553(a).


        B.      I further FIND that:

             1. The Defendant is competent to enter an informed plea;

             2. The Defendant is aware of his rights and has had the advice of
                legal counsel;
             3. That the plea of guilty by the Defendant has been knowingly and
                 voluntarily made and is not the result of force, threats, or coercion;

             4. ✔ Any agreements or promises which induced the plea of guilty are set forth in
                      the written plea agreement or on the record; and
                      No plea agreement, this is an open plea;

             5. That there is a factual basis for the Defendant’s plea.

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        C. I RECOMMEND that the District Court accept the Defendant’s plea of
          guilty to Count(s) 3  of the Indictment

       ☐ I FURTHER RECOMMEND the District Court accept the Defendant’s
         admission to Criminal Forfeiture Allegation(s) -

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        //

        D. IT IS ORDERED:

        That a Presentence Report be prepared by the U.S. Probation Office.

              1. Any objection(s) to the presentence report shall be filed no later than
                  fourteen (14) days after receiving the presentence report (Fed. R. Crim.
                  P. 32(f)(1));

              2. Any sentencing memorandum shall be filed no later than seven (7)
                  business days prior to sentencing (D.Ak. L.Cr.R. 32.1(d)).

             The Sentencing hearing will be before the United States District Judge. The court

 excludes time from September 21, 2023 until the time of sentencing pursuant to

 18     U.S.C.      §3161(h)(1)(G) on the grounds           that the District Judge will be

 considering the proposed plea agreement.


                   Dated September 21, 2023 , in Anchorage, Alaska




                                             Matthew M. Scoble
                                             Chief United States Magistrate Judge




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This Report and Recommendation is being issued as a Final Report and
Recommendation. Pursuant to Fed. R. Crim P. 59(b)(3), any objections will be
considered by the District Court Judge who will accept, reject, or modify the
recommendation following de novo review. Any objections must be filed within
seven (7) days from the date of service of this Report and Recommendation. The
shortened objection deadline is due to the request of the District Court Judge.
Fed. R. Crim P. 59(b)(2) and D. Ak. L.M.R. 6(a) authorizes the court to alter
the standard objection deadlines.


Reports and recommendations are not appealable orders. Any notice of appeal
pursuant to Fed. R. App. P. 4(a)(1) should not be filed until entry of the District
Court’s judgment. See Hilliard v. Kincheloe, 796 F.2d 308 (9th Cir. 1986).




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